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             IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF NEW JERSEY




IN RE: JOHNSON & JOHNSON TALCUM                 No. 3:16-md-02738-MAS-RLS
POWER PRODUCTS MARKETING, SALES
PRACTICES, AND PRODUCTS LIABILITY               MDL No. 16–2738 (MAS) (RLS)
LITIGATION




  DEFENDANTS OBJECTIONS TO THE SPECIAL MASTER’S ORDER
         DENYING DEFENDANTS’ MOTION TO COMPEL
    AN INSPECTION OF DR. WILLIAM LONGO’S LABORATORY
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      Defendants Johnson & Johnson and LLT Management LLC (formerly LTL)

submit these Objections To The Special Master’s Order Denying Defendants’

Motion To Compel An Inspection Of Dr. William Longo’s Laboratory. See ECF

32826 (“Order”). The Order, which was wrongly decided and turned upon

counterfactual conclusions, should be set aside and an inspection ordered post haste.

      Dr. Longo has made clear time and again that the only way to effectively

challenge his methodology or test the basis of his expert opinion is to stand side-by-

side with him in his laboratory and look at the precise same talc particle at the precise

same moment through his microscope. Accordingly, Defendants either are entitled

to do so in order to cross-exam Dr. Longo and challenge the admission of his

opinions pursuant to Rule 702, or Dr. Longo’s opinions regarding alleged chrysotile

contamination in Johnson’s Baby Powder should be excluded now.

                                 INTRODUCTION

      Dr. William Longo is Plaintiffs’ main testing expert, and a testifying expert in

the bellwether cases. Dr. Longo tested bottles of Johnson’s Baby Powder and claims

he found asbestos in the bottles—an issue that even the Special Master

acknowledged is a pivotal issue in the cases pending in this MDL and one that will

be a central focus of certain Rule 702 motions.

      In connection with the first round of Rule 702 rulings in this MDL, the Court

concluded that “Dr. Longo’s PLM [polarized light microscopy] methodology is



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unreliable because it was replete with subjectivity and reproducibility problems.” In

re Johnson & Johnson Talcum Powder Prods. Mktg., Sales Pracs. & Prods. Litig.,

509 F. Supp. 3d 116, 155 (D.N.J. 2020). In order to sidestep this decision, Dr. Longo

now uses a new PLM method to test talc, but his new method is even worse and

more vulnerable to attack under Rule 702 than the prior one.

      Shockingly, Dr. Longo now claims to find “chrysotile” asbestos using PLM

in nearly 100% of bottles of cosmetic talc he tests, regardless of mine source or

manufacturer. But even another plaintiffs-side expert in cosmetic talc litigation

agrees that what is really going on is that Dr. Longo is simply finding talc in the

talc—and calling it chrysotile.

      The methodology Dr. Longo employs to allegedly find chrysotile in talc turns

on ascertaining the color that various particles appear under a microscope when

coated in a particular oil. Talc should appear a pale yellow, and chrysotile asbestos

should appear purple. But Dr. Longo is not accurately reporting the color of the

particles he examines. For example, Dr. Longo calls the particle below purple, and

therefore concludes it is asbestos, even though it is plainly yellow.




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What’s more, Dr. Longo does not dispute that the other particles surrounding this

one he has highlighted in his report are yellow, and as such, indisputably talc.

Instead, he just claims this particular particle is a different color—specifically,

purple—and he is the only one that can see that distinction.

      How did we get to this point? During the course of continued state court

litigation following the first Rule 702 hearings in this matter, Defendants have raised

numerous criticisms of Dr. Longo’s analysis, forcing him to change his methodology

in response to those criticisms. For example, although his entire analysis turns on

accurately identifying color, Dr. Longo previously used a yellow-hued light bulb

that distorted the color of the particles in the images he produces in his reports to

reflect what he is seeing when examining material under the microscope. Defendants



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pressed him on this clear flaw and the possibility that pictures were either being

intentionally manipulated or were at the very least inaccurate given the use of a

colored bulb. In response, Dr. Longo changed the bulb in his microscope and now

uses a different light bulb. Similarly, after a defense expert contended that Dr. Longo

should be using a different type of oil (which also changes the color of particles in

images), Dr. Longo responded by using a different oil.

      But now, with many of these potential photo-manipulating issues resolved,

Dr. Longo is backed into a corner. His pictures of alleged chrysotile asbestos

particles still appear yellow, which—just as with the above exemplar photograph—

everyone can clearly see with their own two eyes. Yet, Dr. Longo has labelled these

very same yellow particles “purple” in his expert report, and so stands by the report

and insists that the clearly yellow particles are purple on cross examination. Now,

his explanation does not turn on insisting that the photograph is somehow inaccurate

and thus responsible for the disconnect. Instead, he has devised a new response:

Claiming that one must be physically at his lab’s microscope looking at a particle

in real time to see its true color, rather than looking at the images that Dr. Longo

himself has produced. Only then, according to Dr. Longo, will the particle’s true

color be seen and thus the correctness of his analysis be recognized.

      To be clear, this excuse was not a one-time event nor a passing excuse. Dr.

Longo now returns to this same mantra time and time again to deflect defense



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questioning. He testified he could not identify whether a particle was talc or asbestos

because he would “have to be looking in the microscope at it to tell you what that

is.” Ex. L, Longo Valadez Dep. 55:17-56:14 (emphasis added). When asked if his

imaging and testimony demonstrated that his “entire analysis is wrong,” he testified:

“I stand by this. It’s not wrong.” Ex. AD, Longo Clark Hr’g (Vol. I) 118:20-119:3

(emphasis added). His explanation: “This is chrysotile and I would need to be

looking at the microscope here.” Id. (emphasis added). When he was confronted

with the opinions of a defense expert criticizing his method, Dr. Longo gave the

same response: “I don’t understand how he can make that decision in China when

we’re over in the United States never looking at the operative microscope.” Id. at

87:23-88:3 (emphasis added).

      This testimony leaves the defense at an impasse. It is impossible for

Defendants to disprove Dr. Longo’s new “look-down-my-microscope” excuse

because (1) the slides that hold the specific particles that his lab analyzed in

connection with various reports degrade in short order and have been discarded; and

(2) even if the slides were still available, Defendants have no access to Dr. Longo’s

microscope in any event. There is no way for defense experts to view the very same

particles Dr. Longo looked at, let alone with the same instrument that Dr. Longo

insists they must be viewed under in order to see their true color and verify his

results. Put simply, unless this Court orders an inspection, Defendants have no



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ability to review specific talc particles alongside Dr. Longo live under the

microscope in his lab.

      Dr. Longo has even taunted Defendants to have a defense expert visit his lab

and look at his microscope with him: “I’d be perfectly happy to have, you know, Dr.

Sanchez—well his PLM person come here—watch us make the sample. We can go

and look for it and say here’s the structure, go ahead and look at it. What’s the

difference? Probably better that way.” Ex. AG, Longo Streck Dep. 135:17-25. But

when Defendants sought to do just that and take Dr. Longo up on his offer, he balked.

      An inspection is critical because it goes to an issue at the very heart of this

MDL, namely, whether Johnson’s Baby Powder is contaminated with asbestos. Per

the PSC’s own testing expert, the only way to answer this question and verify this

expert opinion on the matter is to look down the microscope live. It is Dr. Longo,

not Defendants, who has repeatedly defined his method in that manner. The need for

an inspection here is not an effort by Defendants to waste time or harass; it stems

directly from Dr. Longo’s own testimony. While ordering observation of an

opposing party’s expert’s testing may be rare, it is not unprecedented. And it is

dictated by the unique method Dr. Longo chose. Put succinctly, this is a position that

Dr. Longo has put himself in.

      Yet, incredibly, the Special Master denied Defendants’ motion to compel an

inspection of Dr. Longo’s lab for live observation of his testing. The Special Master



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concluded that Defendants sought “irrelevant information.” Order at 4. That

conclusion is simply unsupportable by the record. It is a legal error warranting

reversal. Dr. Longo’s testing is critical to Plaintiffs’ allegation that Defendants’ talc

is contaminated with asbestos. In fact, the Special Master recognized in a different

order that Dr. Longo’s testing is “case-defining.” ECF No. 32826.

      The Special Master reached his erroneous decision by relying on the fact that

“Longo’s testing method changed over time.” Order at 5. That Dr. Longo used a

different methodology in the past is of no moment to this motion. Dr. Longo is

currently using a methodology that he claims finds chrysotile asbestos in talc 100%

or nearly 100% of the time, and that he has testified over and over turns on the color

he is seeing at the moment he looks down his microscope. That current methodology

is the methodology Defendants want to observe, as was stated repeatedly at oral

argument to the Special Master. Put another way, Defendants cannot replicate the

conditions Dr. Longo says are necessary to verify his results: looking live down his

microscope.

      The Special Master also faulted Defendants for not providing sufficiently

analogous caselaw to support their request. Defendants want to be very clear on this

point: This Court is faced with a singular scenario unlike any other expert opinion

that has come before in product liability litigation. There is simply no case where a

alleged expert presented a photograph that was plainly yellow, looked the judge and



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jury in the eyes and called it purple, and then defended himself through an

impossible-to-disprove excuse that if everyone could just look down his microscope

with him in real time they too would understand that yellow was actually purple.

Even attempting to explain Dr. Longo’s unprecedented excuse feels like stepping

through Alice’s looking glass.

      But that does not mean that the caselaw Defendants did provide is totally

inapplicable either. Courts frequently require observation of an expert’s testing when

destructive testing is involved (though that is not the only situation). See infra at

§ II.A. The Special Master rejected all those cases by stating that “Longo did not do

destructive testing.” Order at 4. That is simply not true, meaning the Special Master’s

Order rests on an objectively incorrect factual finding. The particles Dr. Longo

looked at were destroyed when the microscope slides degraded and were discarded.

It is not relevant that other talc particles from the same container may exist. Nor is

it relevant that the destroyed particles may be small. Destroyed is destroyed. In any

event, whether or not Dr. Longo’s method is technically destructive testing is just

semantics. Dr. Longo testified repeatedly that the time in which his results can be

justified is transitory: only when he is looking live down the microscope. If that is

not destructive testing, it is the equivalent.

      Additionally, the Special Master refused to even consider ordering exclusion

of Dr. Longo’s chrysotile testing if Dr. Longo does not submit to an inspection on



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the ground that Defendants’ alternative proposed enforcement method should be

directed to the trial judge. Order at 8. Now is the time to decide that issue. Either

Dr. Longo submits to appropriate examination of his methodology so that

Defendants can challenge it pursuant to Rule 702, or his opinion should be excluded.

Briefing on Rule 702 occurs this month. The PSC and their expert should not be

permitted to continue running down the clock on this foundational and pivotal issue.

      Finally, Dr. Longo faces no undue burden from an inspection. The PSC

submitted absolutely no evidence in that regard. Dr. Longo’s testimony is critical to

the case, and any burden from an inspection is far outweighed by the importance of

observing the same particles as Dr. Longo in real time.

      This Court should overrule the Special Master’s decision and compel Dr

Longo to submit to Defendants’ requested inspection.

                                 BACKGROUND

      Dr. Longo and MAS

      Plaintiffs’ expert Dr. Longo is the President and a 75% owner of his lab

Material Analytical Services, LLC (“MAS”). 95% of the time that he is in court, Dr.

Longo is testifying for plaintiffs’ attorneys in asbestos litigation. Ex. A, Longo

2/7/19 Leavitt Tr. 178:20-23.

      Courts have excluded Dr. Longo’s opinions on numerous occasions. In some

instances, they have called his work “junk science” and “pseudo-science at best.”



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Ex. B, In re Lamar Cty. Order (Tx. Dist. Ct. July 5, 2001) at 1; In re Garlock Sealing

Techs., LLC, 504 B.R. 71, 80 (Bankr. W.D.N.C. 2014). One court elaborated: “Re-

reading Dr. Longo’s testimony reveals it to be practiced and to employ misdirection

and evasiveness. It is at best disingenuous, not credible and unsupported by any

respectable community of scientists.” Ex. B, In re Lamar Cty. Order (Tx. Dist. Ct.

July 5, 2001) at 12.

      Dr. Longo began testing talc for asbestos for purposes of cosmetic talc

litigation in late 2016. Ex. C, Longo 9/4/2019 Cabibi Tr. 2759:14-19. For years, he

never found a type of asbestos known as chrysotile in cosmetic talc. See Ex. D,

Longo Rimondi Tr. 140:14-141:8. Then in 2020, Dr. Longo began using a new

method using polarized light microscopy (known as “PLM”)—despite previously

testifying that “the PLM method is not appropriate to do an evaluation for these types

of products” (i.e. talcum powder products). Ex. W, Longo Weirick 8/24/18 Tr.

2921:25-28. In fact, Dr. Longo testified at least as of January 2019 that he had never

“personally analyzed a [talc] sample for the presence of asbestos using PLM.” Ex.

E, Longo Young Dep. 85:18-20. As he put it then, “I don’t do PLM analysis.” Id. at

86:5-6. (MAS analysts did the actual testing.)

      Dr. Longo now claims to find chrysotile using PLM in nearly 100% of

cosmetic talc bottles he tests. Ex. F, Longo Forrest Dep. 138:9-18. He says that

“[a]ny bottle that was sold in North America that used a mine source for cosmetic



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talc in North America will have some level of asbestos in it.” Ex. G, Longo Eagles

Dep. (Vol. III) 449:12-21.

      Dr. Longo’s PLM Analysis

      Under the PLM method that Dr. Longo uses, the mineral type of a particle is

determined by identifying the color that the particle appears under the microscope

after coating it in a particular oil. See Ex. F, Longo Forrest Dep. 72:15-17, 75:23-

76:9. More specifically, PLM analysis performed at MAS relies on analysts correctly

identifying the specific shade of color seen under the microscope, matching those

colors up to a chart, and then reporting values that are used to identify whether the

microscopic particles viewed are asbestos, talc, or some other mineral. Ex. AD,

Longo Clark Hr’g (Vol. I) 48:9-49:1, 113:12-18; see also Ex. U, Demonstrative.

      So for example, the ISO (International Standards Organization) protocols that

Dr. Longo claims at least in part to follow state that talc in parallel orientation 1

should be a pale yellow. Ex. I, ISO 22262-1 at 28; Ex. J, Longo Eagles Dep. (Vol.

II) 245:5-17. Chrysotile asbestos, by contrast, should generally appear purple in

parallel. Below is an image of a sample for chrysotile in parallel from the ISO

protocols:




1
 Particles are evaluated by PLM in both a “parallel” and “perpendicular” orientation,
with each producing a different color.


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      In order to call particles “chrysotile,” Dr. Longo’s lab incorrectly reports the

colors of the particles. Take for example this particle below:

                Dr. Longo’s                                   Dr. Longo’s
  Claimed “Chrysotile” Asbestos (Ex. K. at 33)               Claimed Color




      Dr. Longo admitted that particle is “brownish gold.” Ex. J, Longo Eagles (Vol.

II) Dep 263:5-18. (Talc should appear yellow.) However, Dr. Longo treats that


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particle as the purple color depicted on the right for purposes of his analysis—i.e.

the color chrysotile should look like. Ex. G, Longo Eagles Dep. (Vol. III) at 308:4-

309:7. 2

       Indeed, Dr. Longo is claiming that the particle above is somehow a different

than all the other yellow particles of talc that surround it:




Ex. K, Longo Valadez Report at 33




2
 Dr. Longo’s analyst reports a numerical “refractive index” or “R.I.” value for the
color of the particle he claims to see. Those indices correspond to particular colors.
Dr. Longo’s report lists this particle as R.I. 1.564, which corresponds to a purple of
560 nanometers depicted above. Ex. K, Longo Valadez Report at 33; Ex. AD,
Longo Clark Hr’g (Vol. I) 48:9-49:1, 113:12-18; see also Ex. AK, Valadez
Demonstrative.

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      Criticisms Of Dr. Longo’s Analysis

      Dr. Longo’s analysis suffers from numerous flaws, and has been criticized by

defense experts and plaintiff-side experts alike. For example, Defense experts

criticized Dr. Longo’s work for not being appropriately “white balanced” and

therefore not faithfully depicting the colors of the particles. Ex. X, Longo Bonnem

Dep. 32:22-36:15. That led Dr. Longo to acknowledge that he was using a

microscope with a tungsten lightbulb which emitted a yellow-hued light that

distorted the color of his imaging—the key component of identifying the mineral.

Ex. L, Longo Valadez Dep. 30:9-31:3. And Dr. Longo no longer uses that lightbulb.

Dr. Longo was also previously using a different type of oil, which also affects the

color of the particles. Dr. Longo no longer uses that type of oil anymore in response

to criticisms from defense experts.

      Even now Dr. Longo’s images still suffer from coloration problems. Dr.

Longo purports to rely in part on PLM methods authored by Dr. Shu-Chun Su. Dr.

Longo has testified that Dr. Su is a “well respected scientist,” “an authority in terms

of mineral identification through staining techniques,” and that essentially “every

lab in the country” uses Dr. Su’s methods for their PLM analysis. Ex. Y, Longo

7/7/21 Prudencio Tr. 5133:11-5134:11.

      But Dr. Su himself authored a report in this MDL explaining, among other

things, that MAS’s images are too dark. Specifically, Dr. Su says that “MAS



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routinely uses insufficient light intensity, as if the light intensity was suppressed.”

Ex. Z, Su Rpt. at 3, Exhibit C to the Su Report at 2-5. This in turn serves to distort

the color the particles appear—the critical step in ascertaining the mineral type of

the particles. Id.

       Defense expert Dr. Matt Sanchez has tested talc from many of the same

containers that Dr. Longo has tested, and he reports seeing only talc. But Dr. Sanchez

has not been able to look at the same particles that Dr. Longo is looking at because

the slides with the samples that MAS looks at under the microscope degrade in

relatively short order, and are then discarded by MAS. Ex. Q, 3/15/23 Valadez CMC

Tr. at 54:5-6. For example, Defendants requested Dr. Longo’s slides in the Valadez

case in California state court days after Dr. Longo issued his report in that case. Ex.

R, 3/9/23 Letter. But Defendants were later informed those slides were no longer

usable at that time. Ex. S, 3/23/23 CMC Tr. at 55:15-21. In other words, the only

way for defense experts to look at the same particles MAS is looking at in the same

way is to view them live under the microscope at the same time as Dr. Longo.

       Even an expert often on the plaintiffs’ side of cosmetic talc litigation explains

that the reason Dr. Longo is finding “chrysotile” in every talc bottle is because he is

misidentifying talc as asbestos. Frequent plaintiffs’ expert Mr. Lee Poye testified:

“Q. In your opinion, what do those photos that Dr. Longo claims is chrysotile from

that -- from his PLM analysis, what are those structures? A. The edge of talc plates.”



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Ex. H, Poye McNeal Dep. 128:20-129:6. No one who has reviewed MAS’s imaging

has been willing to go on record to agree that MAS is finding chrysotile by PLM.

Ex. V, Longo MDL (Vol. 1) Dep. 122:16-123:12.

      Dr. Longo has previously testified that a different method—transmission

electron microscopy or “TEM”—is the best way to accurately identify chrysotile in

talc. See Ex. O, Longo Kerkhof Dep. 187:19-188:17. In fact, he testified that it using

TEM would make it “fairly simple to tell whether or not you are, in fact, looking at

chrysotile as opposed to talc”—rather than relying on color gradations. Ex. AD,

Longo Clark Hr’g (Vol. I) 42:10-14. Yet Dr. Longo has refused to test the validity

of his PLM work by using TEM, which if faithfully applied could conclusively

determine whether the particles at issue are talc or asbestos. Ex. P, Longo Clark Dep.

(Vol. II) 206:7-11.

      The findings of another frequent plaintiffs-side expert (though not in this

MDL) may explain why. Dr. Compton tested 18 Chinese talc ore samples (the talc

used for years in JBP) by TEM, which is a more sensitive microscope than PLM. Ex

AA, 9/24/2020 Compton Report at 3; Ex. T, Longo Hayes Tr. 177:24-178:5 (more

sensitive). Dr. Compton found no chrysotile in any of the 18 samples. Ex. AA,

9/24/2020 Compton Report at 3. Dr. Longo then tested the same 18 samples by PLM,

the less sensitive microscope, yet somehow reported finding chrysotile in all 18 of

the 18 samples. Ex. AB, Longo 10/8/2020 Rpt. at 12, 22-23



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      Dr. Longo’s Response To Criticisms

      Dr. Longo now has a new response to criticisms of his methodology: That

everyone would see what he sees if only they could look live down the microscope

at the particles rather than looking at the images Dr. Longo produced. Across

multiple depositions and a Daubert-equivalent New Jersey state court hearing, Dr.

Longo has repeatedly stated one would need to be physically sitting at a microscope

looking at the live at the particle to understand how he was purporting to identify

chrysotile:

   • When asked to identify a particle in his report, Dr. Longo testified, “I’d have
     to be looking in the microscope at it to tell you what that is” and then said
     again: “I’d have to be looking in the PLM scope to make a guess.” Ex. L,
     Longo Valadez Dep. 55:17-56:14.

   • When pressed on whether that particle was talc, he stuck to his same response:
     “Again, I’d have to be looking in the microscope to make any decision on
     what that might be.” Id. at 56:15-18.

          o A video excerpt of these first two examples is available at Ex. L.1 and
            was previously lodged with the Court.

   • When asked why he was identifying a so-called chrysotile particle as
     “magenta” when it was clearly not magenta, Dr. Longo stated as part of his
     answer that he would “have to be under the microscope to look at it.” Ex. L,
     Longo Valadez Dep. 61:5-62:3.

   • When asked whether he was treating a different yellow “chrysotile” particle
     as purple for purposes of his analysis he said: “I’d have to be sitting at the
     PLM scope.” Id. at 64:13-20.

   • When asked if his lab was reporting yet another “chrysotile” particle as closer
     to the purple end of the light spectrum than a prior particle, Dr. Longo
     testified: “I’m not looking in a microscope. I can’t answer it anymore and
     help you out here.” Id. at 67:2-17.

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   • When asked whether he could identify numerically (by the wavelength of light
     per the methodology Dr. Longo claims to follow) the color on specific area of
     the particle Dr. Longo claimed was relevant, he testified: “No. In order for
     me to do that, I would have to be sitting at the microscope, in focus, out of
     focus, and look at that.” Id. at 78:13-79:9.

   • When asked what the refractive index of talc particles are, he again testified:
     “I’d need to be looking in the microscope.” Id. at 39:17-40:14.

   • “I’d have to focus in on it to see if we -- you know, the focus is off.” Ex. J,
     Longo Eagles (Vol. II) Dep. 257:8-9

   • “[Y]ou have to be looking under the microscope.” Ex. AD, Longo Clark Hr’g
     (Vol. I) 113:25-114:3.

   • “I’m not sitting at the microscope and this has been copied a few times, so
     it’s kind of hard to debate you on it.” Id. at 117:2-4.

   • “I would need to be looking at the microscope here.” Id. at 119:1-2.

   • “I don’t understand how he can make that decision in China when we’re over
     in the United States never looking at the operative microscope.” Id. at 87:23-
     88:3.

   • “I’d have to be on the microscope.” Ex. AE, Longo Clark Hr’g (Vol. II)
     290:2-8.

      The Special Master specifically found that “Defendants’ numerous citations

to Dr. Longo’s testimony from other cases, including testimony held weeks ago in a

New Jersey State court case, is illustrative of the fact that defendants are not

‘nitpicking’ as plaintiffs argue.” ECF 32817 at 3.

      Procedural History

      In order to respond to Dr. Longo’s assertion that the basis for his opinions

could only be ascertained by looking live down his microscope, Defendants served



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an Updated Notice of Oral and Videotaped Deposition of Dr. Longo, which included

a Notice of Inspection pursuant to Fed. R. Civ. P. 34(a)(2) on April 18, 2024. See

Ex. M. This would allow defense experts to view the same particles that Dr. Longo

is viewing in real time. Plaintiffs objected, Ex. N, and Defendants filed a motion to

compel.

      The Special Master issued an order denying Defendants’ motion. Although

the Special Master recognized in a different order that Dr. Longo’s testimony

claiming to find asbestos is “case-defining,” ECF No. 32826, the Special Master

ruled that Defendants requested “irrelevant information.” Order at 4. The Special

Master also concluded that the caselaw Defendants did not provide sufficiently

analogous caselaw to this unique situation of an expert claiming only live

observation can justify his opinions. As part of that analysis, the Special Master ruled

that “Dr. Longo did not do destructive testing” as was the situation in many of

Defendants’ cases. Order at 4. But there is no dispute the particles Dr. Longo looked

have been destroyed. And while the PSC submitted no evidence of any burden on

Dr. Longo, the Special Master concluded an inspection would be unduly

burdensome.

      Defendants now filed this objection to the Special Master’s ruling. See ECF

704 at 3 (setting forth the procedures).




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                                LEGAL STANDARD

         Federal Rule of Civil Procedure 34(a)(2) permits a party to serve a request

“within the scope of Rule 26(b)” to “permit entry onto designated land or other

property” to order to “inspect, measure, survey, photograph, test, or sample the

property or any designated object or operation on it.”

         A Rule 34(a) request to inspect “poses a very low hurdle.” E.E.O.C. v.

Supervalu, Inc., 2010 WL 5071196, at *10 (N.D. Ill. Dec. 7, 2010) (internal citations

and quotation marks omitted). The rule itself “requires only that such a request seek

information ‘within the scope of Rule 26(b).’” Id. Rule 26(b), of course, permits

“discovery regarding any nonprivileged matter that is relevant to any party’s claim

or defense and proportional to the needs of the case.” A “a showing of need” is

accordingly not necessary. Cuno Inc. v. Pall Corp., 116 F.R.D. 279, 281 (E.D.N.Y.

1987).

         Some courts have said that they use “‘reasonableness’ as a guidepost” for Rule

34 requests to inspect. See Nat'l Mfg. Co. v. Janed Enterprises, Inc., 2013 WL

12470870, at *2 (D.N.J. July 3, 2013) (granting in part request for inspection)

(internal citations omitted).

         This Court “shall review the findings of the Special Master according to the

standards of review set forth in Fed. R. Civ. P. 53(f)(3)-(5).” ECF 704 at 3. “The

court must decide de novo all objections to findings of fact made or recommended



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by a master.” Fed. R. Civ. P. 53(f)(3). “The court must decide de novo all objections

to conclusions of law made or recommended by a master.” Fed. R. Civ. P. 53(f)(4).

“[T]he court may set aside a master’s ruling on a procedural matter only for an abuse

of discretion,” Fed. R. Civ. P. 53(f)(5), meaning that the Court has “a definite and

firm conviction that [the special master] committed a clear error of judgment in the

conclusion it reached.” U.S. v. Andrews, 12 F.4th 255, 259 (3d Cir. 2021).

                                  ARGUMENT

I.    Looking At The Same Particles As Dr. Longo At The Same Time Is Not
      Just Relevant, It Is Critical.

      A.     Dr. Longo’s chosen methodology uniquely requires the requested
             inspection.

      Dr. Longo and his team picked the methodology they use to allegedly and

repeatedly identify chrysotile asbestos in JBP. And they chose a methodology that,

by Dr. Longo’s own testimony, requires looking live down his microscope in order

to understand and confirm the conclusions. This unique situation requires a unique

solution: having an expert from both sides look through the microscope at the same

particles at the same time.

      A few examples of Dr. Longo’s “look-down-the microscope” testimony

discussed above warrant closer examination. Identifying “asbestos” particles and

differentiating them talc particles is the entire point of Dr. Longo’s analysis. Yet

when asked to identify a particle in his report as either talc or asbestos, Dr. Longo



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testified three times that he would need to be “looking in the microscope” to identify

the particle. Ex. L, Longo Valadez Dep. 55:17-56:14. Defendants lodged with the

Court a video clip of this testimony showing Dr. Longo unable to identify the particle

after looking at the images for a considerable amount of time.

      Similarly at the New Jersey Daubert-like hearing at the end of May, Dr.

Longo testified that the only way to determine whether his entire analysis is wrong

is to be looking down the microscope:

            [Q.] [I]f you’re claiming to see some sort of edge effect here that
      you’re basing your purple color on but it’s an artifact, then your entire
      analysis is wrong?
            A.     No, this analysis is not wrong. This is chrysotile and I would
      need to be looking at the microscope here. I stand by this. It’s not wrong.

Ex. AD, Longo Clark Hr’g (Vol. I) 118:20-119:3 (emphasis added).

      The slides MAS looked at have long since degraded and discarded. Exs. Q-S.

That leaves Defendants with no way to disprove Dr. Longo’s assertion that his entire

analysis would be shown to be correct if one were only to look down the microscope

at the particles. In this scenario, Defendants should have the opportunity to look

down the microscope at the same particles that Dr. Longo is looking at—the only

way Dr. Longo claims his results can be verified.




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        B.        The Special Master’s rationales for why an inspection is not
                  warranted were wrong.

             1.        An inspection is necessary disprove Dr. Longo’s excuses.

        The Special Master concluded an inspection was not warranted because

defense experts issued reports “with discussions critiquing Longo’s conclusions,

analysis, and methodology” that “do not mention anything about needing an

inspection to evaluate Longo’s work.” Order at 7. That entirely misses the point.

Yes, defense experts reviewing Dr. Longo’s work conclude that Dr. Longo is in fact

finding particles of talc and calling them “asbestos.” But Dr. Longo’s explanation

for why the defense experts are wrong is that the defense experts are not looking

down the microscope in his lab. So the experts need to look through the microscope

in real time to disprove Dr. Longo’s newest excuse.

        For example, when confronted with defense expert Dr. Su’s conclusions, Dr.

Longo simply says that Dr. Su is not looking down the microscope and in fact

criticizes him for being far away from the microscope in China: “I don’t understand

how he can make that decision in China when we’re over in the United States never

looking at the operative microscope.” Ex. AD, Longo Clark Hr’g (Vol 1) 87:23-

88:3.

        All the various types of questions where Dr. Longo has employed his “look-

down-the-microscope” response show why Defendants cannot simply cross examine

Dr. Longo or present their own experts’ conclusions. When Defendants ask him


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about fundamental flaws in his testing, Dr. Longo’s response is to essentially say:

well trust me, when you look down the microscope at my lab you can tell this is

asbestos. That leaves no follow up question to ask. Contrary to the Special Master’s

conclusions, Dr. Longo’s testimony places a roadblock on further questioning if he

is not willing to have a defense expert look at the same particles at the same time

under the same microscope. See Order at 7. There is no way for the defense to

disprove Dr. Longo’s look-down-the-microscope excuse without looking down the

microscope.

           2.      Dr. Longo’s testimony is plainly relevant.

      The Special Master was also wrong to conclude that Defendants have

requested “irrelevant information.” Order at 4. As the Special Master recognized,

Dr. Longo’s testimony claiming to find asbestos is “case-defining.” ECF No. 32826.

      For his conclusion that the inspection is not relevant, the Special Master relied

entirely on the fact that Dr. Longo’s methodology has “changed over time.” Order

at 5. But that is a reason to grant the inspection, not deny it. Plaintiffs never even

argued that changes to Dr. Longo’s methodology were a reason to deny the

inspection, instead calling the entire issue a “red herring,” arguing that Dr. Longo’s

methodology could be replicated. ECF 32684 at 8

       Dr. Longo’s methodology has changed over time in response to defense

criticisms of his work. For example, defense expert Dr. Su issued a report that Dr.



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Longo should be using a different type of oil (which affects the color of the

particles). Ex. AF, Su 1/30/2022 “Talc Misidentified as Chrysotile” Rpt. As a result,

Dr. Longo changed the oil he used. Ex. L, Longo Valadez Dep. at 15:3-18. Though

he still defended his earlier testing by claiming without evidence that Dr. Su’s report

was fraudulently drafted by someone else. Ex. AH, Longo Zundel Dep. at 77:24-

78:14.

         But he was forced to drop that argument after being confronted with a video

of Dr. Su acknowledging that he, in fact, wrote the report with his name on it, Ex.

AI, 9/1/2023 Longo Cardillo Dep. at 133:2-20. And as discussed above, criticisms

from the defense led Dr. Longo to use a different type of light bulb in his PLM work.

As a result of these various responses to the defense arguments, the color of Dr.

Longo’s images has changed drastically:




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      The exchange between the defense and Dr. Longo has now backed Dr. Longo

into a corner. The only excuse he has remaining is to say one would need to look

live down the microscope.

      That is not the only example of how Dr. Longo is now forced to retreat to his

look-down-the-microscope response. When the defense has confronted Dr. Longo

with the fact the particles he is calling purple are clearly yellow, Dr. Longo claimed

that he is relying on the color that appears just on the edges of the particles. Ex. J,

Longo Eagles Dep. (Vol. II) at 256:21-257:4. Then the defense confronted Dr.

Longo with the fact that edge effect Dr. Longo relies on to identify particles as

“chrysotile” can routinely be seen around particles that even Dr. Longo

acknowledges are talc:




Ex. AK, Valadez Demonstrative.



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      Dr. Longo was forced to admit that those edge colors could simply be an

artifact of his images, for example if the “focus is off”: “[E]very particle has some

of the red around it. And I don’t know if that’s just an artifact or not.” Ex. J, Longo

Eagles Dep. (Vol. II) 256:21-257:11.

      Then when asked whether basing analysis on “some sort of edge effect” that

could simply be “an artifact” means his “entire analysis is wrong” Dr. Longo

retreated to his new look-down-the-microscope safe harbor: “No, this analysis is not

wrong. This is chrysotile and I would need to be looking at the microscope here. I

stand by this. It’s not wrong.” Ex. AD, Longo Clark Hr’g (Vol. I) 118:20-119:3

(emphasis added).

      Indeed, the Special Master himself concluded that “Longo testified in other

cases that he is unable to answer certain of defendants’ questions about his

conclusions without looking through a microscope.” ECF 32817 at 3.

      It is simply not true that “no assurances can be given that the current testing

defendants request will recreate or replicate the conditions that existed when the

relevant tests were done.” Order at 5. Again, Plaintiffs never even made this

argument. Dr. Longo is currently employing a methodology that he claims finds

chrysotile asbestos in talc 100% of the time, or nearly so. In fact, Dr. Longo at his

deposition in this MDL disclosed two new chrysotile tests he had just recently




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completed. Ex. V, Longo MDL Dep. at 130:11-131:6. Defendants seek to observe

that current methodology.

      That Dr. Longo may have used a different methodology in the past is of no

moment. And there is no way to predict the future of what new dodge Dr. Longo

may devise after a defense expert looks down his microscope to disprove Dr.

Longo’s current justification for his testing.

           3.       The deposition of Dr. Longo’s analyst is not sufficient.

      The Special Master also pointed to his granting a deposition of Dr. Longo’s

analyst, Paul Hess, as further justification to deny the inspection. As the Special

Master explained in that ruling, “Hess, not Longo, did the microscopic analysis

required under the PLM methodology.” ECF 32817.

      A deposition of Mr. Hess alone, however, is not sufficient to allow Defendants

the opportunity to test Dr. Longo’s critical opinion in this matter, i.e., his alleged

observation of asbestos in Johnson’s Baby Powder (“JBP”). Normally, a party is

entitled to both the data that underlies an opposing expert’s opinion in order to

independently verify that expert’s conclusions and a deposition of the expert who

performed the relevant analysis stemming from that data. A deposition of Mr. Hess

is helpful and important since he is the one actually reaching the conclusions at issue.




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      But Defendants are still entitled to the data to allow them to independently

verify the explanations Dr. Longo is offering for his opinion. And Dr. Longo

repeatedly testifies that the only way to do that is to look live down his microscope.

II.   This Court Has Authority To Order An Inspection.

      A.     This Court can order an observation of Dr. Longo’s testing.

      This Court has authority to order an inspection. The Special Master relied on

the fact that Defendants provided “no controlling case law authorizing their request”

and concluded that the cases Defendants’ cited were insufficiently similar to the facts

here. Order at 4.

      The lack of closely analogous caselaw is driven entirely by the singular nature

of Dr. Longo’s opinion and testimony. His opinion depends entirely on an

“Emperor’s New Clothes” methodology: looking at particles that everyone with their

own two eyes can see are yellow yet claiming they are, in fact, purple. But rather

than the sham-magic being that only smart people can see the clothing, Dr. Longo is

claiming that everyone need only look down his microscope. It should not be

surprising that there are no nearly identical cases to the facts before this Court.

      But that does not mean no similar cases exist at all. While it is generally true

that an expert is allowed “to perform his or her work without being scrutinized by

the opposing expert,” “the particular circumstances of a case may dictate a different

result.” Diepenhorst v. City of Battle Creek, et al., 2006 WL 1851243, at *1 (W.D.



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Mich. June 30, 2006). For example, “when a party proposes destructive testing, or

there is controversy concerning the nature of the test, it sometimes becomes

necessary to force the experts to collaborate.” Id.

      Indeed, courts routinely require that the other side’s expert be permitted to

attend destructive testing. 3 And Courts have ordered that experts re-conduct tests

with opposing parties present. See, e.g. Insituform Techs., Inc. v. Amerik Supplies,

Inc., 2010 WL 11493292, at *12 (N.D. Ga. Feb. 19, 2010); U.S. v. Harpham 2015

WL 4623717, at *3 (E.D. Wash. Aug. 3, 2015).

      In fact, one of the factors courts consider in whether to permit destructive

testing is whether there is a “reasonable opportunity for the [non-movants] and their

experts to observe and record the procedures involved.” Sero v. Tricam Indus., Inc.,

2023 WL 6318013, at *7 (D.N.J. Sept. 28, 2023). That said, destructive testing is

not the only situation observation where courts order observation of an expert’s

testing. For example, one court permitted the opposing expert to observe non-

destructive testing because the “circumstance necessitates additional care and

safeguards.” See Rattay v. Medtronic, Inc., 2007 WL 1417158 at *2-3 (N.D. W. Va.

May 10, 2007).


3
  See e.g., Trice v. Toyota Motor Corp., 2012 WL 12894708, at *2 (D. Minn. Sept.
12, 2012); Holmes v. J.M. Prods., Inc., et al., 2005 WL 927172 at *4 (W.D. Tenn.
Jan. 7, 2005); Spell v. Kendall-Futuro Co., 155 F.R.D. 587, 588 (E.D. Tex. 1994);
Ostrander v. Cone Mills, Inc., 119 F.R.D. 417, 420 (D. Minn. 1988); Pizza Hut,
Inc. v. Midwest Mech., Inc., 1988 WL 8980, at *1 (N.D. Ill. Feb. 1, 1988).

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      The Special Master rejected all of Defendants’ cases on the ground that

“Longo did not do destructive testing.” Order at 4. That conclusion is wrong for two

reasons. First, it is simply not true. The talc particles that Dr. Longo analyzed were

placed on slides which degrade and were then discarded. Exs. Q-S. That other talc

from the same container may exist does not mean that Dr. Longo did not destroy the

talc particles he did analyze. Even when samples are split between the parties, or

when other portions of an object remain, courts rightly describe testing that destroys

part of a sample as “destructive testing.”4 That the particles are small—in fact,

microscopic—also does not render them any less destroyed.

      Second, even if Dr. Longo’s testing were to be considered not “destructive,”

all the same rationales for allowing defense experts to observe destructive testing are

still present. According to Dr. Longo’s testimony, the only time when chrysotile can

be differentiated from talc are the fleeting moments when someone is looking live

at the particles through the microscope. Those moments cannot now be replicated.

      Whether falling under the semantic definition of “destructive testing” or not,

the conditions that Dr. Longo says are necessary to identify asbestos in talc are



4
  See, e.g., Ostrander, 119 F.R.D. at 418. (“They seek production of a portion of
the remaining pieces to conduct destructive testing.”); Graff v. Baja Marine Corp.,
310 F. App’x 298, 301 (11th Cir. 2009) (expert “conducted destructive tensile tests
on a portion of the gimbal housing”); Coleman v. Anco Insulations, Inc., 2017 WL
1735038, at *1 (M.D. La. Apr. 26, 2017) (granting request for “destructive testing”
on “a small portion of Decedent’s tissue”).

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transitory. Defendants should therefore be entitled to be present in that transitory

time.

        B.    This Court can order that Dr. Longo’s testing should be excluded
              if he does not submit to an inspection.

        The Court also has at its disposal another mechanism of resolving this issue if

Dr. Longo is so fundamentally opposed to allowing Defendants to look live down

the microscope he keeps holding out as the key to his groundbreaking opinions:

exclude Dr. Longo’s PLM testing. The Special Master expressly stated it was not

considering exclusion and stated that the argument “instead should be directed to the

trial judge.” Order at 8.

        Under Daubert and Rule 702, a “key question” is whether the technique at

issue “can be (and has been) tested.” Daubert v. Merrell Dow Pharms., Inc., 509

U.S. 579, 593 (1993); see In re Paoli R.R. Yard PCB Litig., 35 F.3d 717, 742 (3d

Cir. 1994) (discussing the “testability of the expert's hypothesis”). “Someone else

using the same data and methods must be able to replicate the result” of the expert.

Zenith Elecs. Corp. v. WH-TV Broad. Corp., 395 F.3d 416, 419 (7th Cir. 2005); U.S.

v. Hebshie, 754 F.Supp.2d 89, 125 (D. Mass. 2010) (“Documentation is necessary

to test a hypothesis; in fact, reproducibility is the sine qua non of ‘science’”). An

expert’s opinion must “allow[ ] a factfinder to independently verify the accuracy of

the expert’s results” to be admissible. Kemp v. Tyson Seafood Grp., Inc., 2000 WL

1062105, at *7 (D. Minn. July 19, 2000).


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      For example, an expert’s opinion was excluded where he “could not reproduce

his own results when asked to re-score the slides using his own method.” In re Diet

Drugs Prods. Liab. Litig., 2001 WL 454586, at *13 (E.D. Pa. Feb. 1, 2001); see also

U.S. v. Johnson, 122 F. Supp. 3d 272, 330 (M.D.N.C. 2015) (excluding expert

testimony because expert’s subjective “methodology is seriously flawed and cannot

be replicated”). Here, Dr. Longo similarly could not identify whether a particle was

talc or asbestos when asked to look at the very images MAS itself produced.

      The prior opinion in this MDL demonstrates why, short of allowing

inspection, Dr. Longo’s PLM analysis should be excluded. In the first round of

expert reports, Dr. Longo did not produce the standards which he used to determine

what percentage of asbestos he was claiming to find by PLM. In re J&J Talc Litig.,

509 F. Supp. 3d at 155. In striking his testimony, the Court explained: “Without that

information, which is internally created by MAS, reproducing Dr. Longo’s test under

the PLM would not be possible, and hence, the testing is unreliable.” Id.

      Similarly in this second round of PLM testing, Defendants do not have the

materials sufficient to independently verify Dr. Longo’s explanation for his PLM

results, rendering it unreliable. Because of the way Dr. Longo himself has defined

his methodology as requiring live examination under his microscope, the Court,

Defendants and any future jury is left with the ipse dixit of Dr. Longo: It is asbestos




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because I say so after I looked down the microscope (which Dr. Longo in fact rarely

did himself).

III.   An Inspection Is Not Unduly Burdensome And Is Proportional To The
       Needs Of The Case.

       The PSC submitted no evidence whatsoever that the inspection of Dr. Longo’s

lab would be unduly burdensome. It would not be. In fact, Dr. Longo even taunted

Defendants to have a defense expert visit his lab: “I’d be perfectly happy to have,

you know, Dr. Sanchez—well his PLM person come here—watch us make the

sample. We can go and look for it and say here’s the structure, go ahead and look at

it. What’s the difference? Probably better that way.” Ex. AG, Longo Streck Dep.

135:17-25.

       The change of tune in now arguing that an inspection would burdensome is

not based in reality. MAS is constantly performing PLM testing of cosmetic talc. In

his MDL report alone, Dr. Longo lists 49 chrysotile tests over the past 3 years. Ex.

AC at 17-26 (Tables 1-7). And he is testing cosmetic talc generally even more often

than that. A plaintiffs’ firm-created chart shows that MAS has performed 125

different tests using Dr. Longo’s new PLM method as of February 2023 (100% of

which reported as finding chrysotile). See Ex. AJ. Indeed, Dr. Longo has testified

that his PLM-talc work is ongoing. Mot. Ex. V, Longo MDL (Vol. I) Dep. 47:6-13,

118:5-119:7. In short, the Court can simply order that the inspection occur at a time




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when MAS testing would otherwise be occurring as part of their regular lab

activities.

       Moreover, any burdens on MAS are outweighed by the critical nature of Dr.

Longo’s testimony. Whether JBP contains asbestos is at the very heart of this MDL.

And Dr. Longo is claiming to find chrysotile in nearly 100% of all samples he tests

now using a method that he claims can only be evaluated by looking live down the

microscope in his lab.

       If Dr. Longo is going to claim he needs to look down the microscope to verify

his results, criticize defense experts for not looking down his microscope, and even

offer for defense experts to visit his lab to look down his microscope, Defendants

should be able to take Dr. Longo up on that offer.

                                  CONCLUSION

       Defendants request that the following be made available for inspection:

       1.     All PLM microscopes used by MAS at 3945 Lakefield Ct, Suwanee,
              GA 30024 for its analysis of the materials referenced in Defendants’
              requests for production 20-24 (attached hereto as Exhibit M at 10-12);

       2.     MAS’s methodology for preparing the materials referenced in
              Defendants’ requests for production 20-24 (Ex. M at 10-12) for
              subsequent analysis by PLM for the identification of “chrysotile,”
              including but not limited to observing in real time the preparation of
              one or more samples of Johnsons Baby Powder performed by MAS;
              and

       3.     MAS’s methodology for analyzing the materials referenced in
              Defendants’ requests for production 20-24 (Ex. M at 10-12) for analysis
              by PLM for the identification of “chrysotile,” including but not limited


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            to observing in real time the analyses performed by MAS on the
            samples of Johnsons Baby Powder, as well as Defendants’ experts
            undertaking real time, contemporaneous observation of the samples on
            the same PLM equipment used by MAS in which MAS has previously
            reported, and may during the inspection report, observing “chrysotile.”


 Dated: July 1, 2024                     Respectfully submitted,

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                         CERTIFICATION OF SERVICE

      I hereby certify that on July 1, 2024, a true and correct copy of the foregoing

motion was filed electronically. Notice of this filing will be sent by operation of

the Court’s electronic filing system to all parties indicated on the electronic filing

receipt. Parties may access this filing through the Court’s system.


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